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                     EXHIBIT B
Testimony and Written Responses of Jeremy Stoppelman for a Congressional Hearing titled
          The Power of Google: Serving Consumers or Threatening Competition?
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                                                                                                                            S. HRG. 112–168

                                           THE POWER OF GOOGLE: SERVING CONSUMERS
                                                 OR THREATENING COMPETITION?



                                                                             HEARING
                                                                                   BEFORE THE

                                                 SUBCOMMITTEE ON ANTITRUST,
                                            COMPETITION POLICY AND CONSUMER RIGHTS
                                                                                       OF THE


                                                 COMMITTEE ON THE JUDICIARY
                                                    UNITED STATES SENATE
                                                         ONE HUNDRED TWELFTH CONGRESS

                                                                                 FIRST SESSION



                                                                             SEPTEMBER 21, 2011



                                                                          Serial No. J–112–43


                                                        Printed for the use of the Committee on the Judiciary




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                                                                     U.S. GOVERNMENT PRINTING OFFICE
                                           71–471 PDF                           WASHINGTON : 2011

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                                      tomer from Nextag directly to their store’s website that is highly
                                      likely to buy the trailer jack that customer was searching for. For
                                      that same price, there is virtually no way for that merchant to put
                                      an ad in a local newspaper or to get that customer, nor to get that
                                      same customer from Google on their own. It’s a good deal for the
                                      merchant.
                                         We are pleased to have helped Google grow their business and
                                      we are appreciative they helped us grow ours. Now, however, they
                                      are not innovating. They helped us grow our business, but they are
                                      copping our business after we invested hundreds of millions of dol-
                                      lars to perfect it, and they are very politely, deftly, and assuredly
                                      moving us aside.
                                         Today, honorable Committee members, when you search for a
                                      product like running shoes or washing machines, Google is not a
                                      search engine anymore. A search engine organizes and presents in-
                                      formation that is hard to find in an unbiased way. But Google of
                                      today doesn’t present the information that users want, it presents
                                      the information that Google wants you to see based on its commer-
                                      cial interests.
                                         The company that dominates the information highway controls
                                      all of the digital billboards and off-ramps, doesn’t even tell the con-
                                      sumer this search favors Google’s preferred vendors, preferred ad-
                                      vertisers, and some beneficial results may be excluded or obscured.
                                         A company that dominates a marketplace at least has the re-
                                      sponsibility to provide fair access. I hope this Committee, and
                                      Google itself, will act to balance the forces that enable competition
                                      to persist. This is a very big deal. We should get it right and we
                                      should make it right.
                                         Mr. Chairman and members of the Committee, thank you very
                                      much for your time and attention.
                                         Senator KOHL. Thank you, Mr. Katz.
                                         [The prepared statement of Mr. Katz appears as a submission for
                                      the record.]
                                         Senator KOHL. Now we’ll hear from Mr. Stoppelman.
                                      STATEMENT OF JEREMY STOPPELMAN, CO-FOUNDER AND
                                       CHIEF EXECUTIVE OFFICER, YELP, INC., SAN FRANCISCO,
                                       CALIFORNIA
                                         Mr. STOPPELMAN. Thank you, Mr. Chairman and distinguished
                                      members of the Committee. I appreciate your interest and invita-
                                      tion to appear today. My name is Jeremy Stoppelman and I’m the
                                      CEO of Yelp, a company I co-founded in 2004 with my former col-
                                      league from PayPal, Russell Simmons.
                                         At Yelp our mission is to connect people with great local busi-
                                      nesses. The site allows people throughout the country to share de-
                                      tailed and passionate reviews about businesses in their neighbor-
                                      hood. In turn, businesses that provide great value and good service
                                      are able to establish and promote themselves online.
                                         Today, Yelp employs more than 800 people throughout the coun-
                                      try. More than 60 million consumers use Yelp every month to de-
                                      cide how and where to spend their hard-earned money. And on the
                                      flip side, job growth in this country relies on small, but fast-grow-
                                      ing and successful businesses. Yelp helps them reach new cus-
                                      tomers by amplifying their positive word-of-mouth online.




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                                         This hearing is important because it examines issues that go to
                                      the heart of innovation: whether new ideas can compete fairly
                                      against expanding monopolies. In our case, I wonder if we would
                                      have been able to start Yelp today given Google’s recent actions.
                                         Let’s be clear. Google is no longer in the business of sending peo-
                                      ple to the best sources of information on the web. It now hopes to
                                      be a destination site itself for one vertical market after another, in-
                                      cluding news, shopping, travel, and now local business reviews.
                                         It would be one thing if these efforts were conducted on a level
                                      playing field, but the reality is they’re not. The experience in my
                                      industry is telling. Google forces review websites to provide their
                                      content for free to benefit Google’s own competing product, not con-
                                      sumers. Google then gives its own product preferential treatment
                                      in Google search results.
                                         Google first began taking our content without permission a year
                                      ago. Despite public and private protests, Google gave the ulti-
                                      matum that only a monopolist can give: in order to appear in web
                                      search you must allow us to use your content to compete against
                                      you. As everyone in this room knows, not being in Google is equiva-
                                      lent to not existing on the internet. We had no choice.
                                         Recently, Google has inexplicably softened its stance. What
                                      changed? Well, the FTC announced an antitrust investigation, the
                                      State Attorneys General took notice, and this Committee proposed
                                      this hearing. Was this an admission of anti-competitive conduct?
                                      Perhaps, but questionable practices remain. Websites and Google
                                      search results now take a backseat to Google’s own competing prod-
                                      ucts. This is typically accomplished by calling special attention to
                                      Google-owned properties through larger text, bright graphics, iso-
                                      lated placement, and pushing objectively ranked websites down the
                                      page.
                                         What we’re most concerned about is that Google is no longer sat-
                                      isfied with pointing users at the best content anywhere on the web
                                      it can be found. Instead, it seems they prefer to send users to the
                                      most profitable content on the web, which is naturally their own.
                                         Is a consumer—or a small business, for that matter—well served
                                      when Google artificially promotes its own properties, regardless of
                                      merit? This has little to do with helping consumers get to the best
                                      information. It has everything to do with generating more revenue.
                                         So where is the harm? I live and work in San Francisco, which
                                      sits on the border of Silicon Valley, a place that has participated
                                      in the development of some of the most amazing products and serv-
                                      ices over the last few decades, including Google. Today represents
                                      a rare opportunity for the government to protect innovation. Allow-
                                      ing a search engine with monopoly market share to exploit and ex-
                                      tend its dominance hampers entrepreneurial activity.
                                         Ensuring open and equal competition will sustain and foster in-
                                      novation and job growth. It will also ensure that the price of inter-
                                      net advertising paid by small businesses will not—will be set by
                                      the market and not solely by a monopolist. When one company con-
                                      trols the market it ultimately controls consumer choice.
                                         If competition really were just a click away as Google suggests,
                                      why have they invested so heavily to be the default choice in web
                                      browsers and mobile phones? Clearly they’re not taking any




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                                      chances. So again, I thank the Committee for its time and interest,
                                      and I look forward to assisting in any way that I can. Thank you.
                                        Senator KOHL. Thank you, Mr. Stoppelman.
                                        [The prepared statement of Mr. Stoppelman appears as a sub-
                                      mission for the record.]
                                        Senator KOHL. Ms. Creighton.
                                           STATEMENT OF SUSAN A. CREIGHTON, PARTNER, WILSON
                                             SONSINI GOODRICH & ROSATI, PC, WASHINGTON, DC
                                         Ms. CREIGHTON. Thank you, Senator. Before I begin my remarks,
                                      Mr. Schmidt asked me to clarify for the record that Google Places
                                      and Yelp are both applications, or apps—mobile apps.
                                         Senator KOHL. I’m sorry?
                                         Ms. CREIGHTON. Mr. Schmidt asked me to clarify that both
                                      Places—Google Places and Yelp are mobile apps.
                                         Senator KOHL. Oh. In response to my question?
                                         Ms. CREIGHTON. In response to—that’s correct.
                                         Senator KOHL. All right. Thank you.
                                         Ms. CREIGHTON. Thank you, Chairman Kohl, Ranking Member
                                      Lee, and members of the subcommittee.
                                         From 2001 through 2005, I had the privilege of serving as the
                                      Deputy Director, and then Director of the Bureau of Competition
                                      at the Federal Trade Commission, serving as the chief antitrust en-
                                      forcer at the FTC. During my tenure we brought more monopoliza-
                                      tion cases to put a stop to anti-consumer conduct than during any
                                      comparable period at the FTC, going back to the late 1970s.
                                         As this strong enforcement record reflects, I firmly believe there
                                      is an important role for government in enforcing our antitrust laws.
                                      The same experience, however, underscored for me the need for the
                                      government to exercise extreme caution before acting against a
                                      company for its day-to-day business decisions.
                                         These unilateral business decisions are the heart of the competi-
                                      tion and innovation underlying our free market system. Because of
                                      the very real risk of deterring innovation and other beneficial ac-
                                      tivities, extraordinary care must be taken to ensure that govern-
                                      ment intervention in the market is truly essential, otherwise, such
                                      action is much more likely to harm consumers than to help them.
                                         As an attorney based in Silicon Valley who has worked with
                                      high-tech companies for more than 20 years, I believe that the dan-
                                      ger of harmful intervention is especially acute in the high-tech sec-
                                      tor. In Silicon Valley, disruptive innovations are the rule and not
                                      the exception, and companies can watch their market positions dis-
                                      appear overnight.
                                         For example, just 4 years ago My Space had a 72 percent share
                                      in social networking; today it is a fraction of 1 percent. We all
                                      know what happened. In the same length of time, Facebook grew
                                      to become the most popular destination on the internet, with 750
                                      million registered users.
                                         In this sector the only constant has been changed. The pace of
                                      technological innovation has been extraordinary, competition is ro-
                                      bust, and the competitive landscape is constantly evolving. We
                                      have seen the incredible benefits to consumers that this vibrant
                                      competition has delivered, developments that were nearly unimagi-
                                      nable when I started in Silicon Valley 20 years ago.




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